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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   IGNACIO MARTINEZ, a single
     person, doing business as MARTINEZ              NO: 1:19-CV-3153-TOR
 8   AUTO PARTS, a sole proprietorship,
                                                     ORDER OF DISMISSAL
 9                             Plaintiff,            WITH PREJUDICE

10         v.

11   WESTERN HERITAGE INSURANCE
     COMPANY, a foreign corporation; and
12   SCOTTSDALE INSURANCE
     COMPANY, a foreign corporation,
13
                               Defendants.
14

15         BEFORE THE COURT is the parties’ Stipulation and Order of Dismissal

16   (ECF No. 46). The stipulation was submitted for consideration without oral

17   argument. The Court has reviewed the record and files herein, and is fully

18   informed.

19         Pursuant to the stipulation, the parties agree that this entire lawsuit,

20   including any and all claims that any party asserted against another party



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
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 1   in this matter, shall be dismissed with prejudice and without fees or costs to any

 2   party. Federal Rule of Civil Procedure 41(a)(1)(A)(ii) provides for dismissal of an

 3   action by filing a stipulation signed by all parties who have appeared.

 4   ACCORDINGLY, IT IS HEREBY ORDERED:

 5         Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, any and all

 6   claims in this action are DISMISSED with prejudice, and without fees or costs to

 7   any party.

 8         The District Court Executive is directed to enter this Order and Judgment

 9   accordingly, furnish copies to counsel, and CLOSE the file.

10         DATED November 5, 2020.

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12                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
